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                     - .-------HELEN-R.-DAL-J:ON-&-ASSQCIA~S-,-~.C~. - - - - •
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                                                                        ME-MO ENDORSED

                                                                                          January 11, 2021
       ViaECF
       The Honorable Judge Kenneth M. Karas
       United States District Court
       Southern District of New York
       300 Quarropas Street
       White Plains, New York 10601

                       Re: Blanco v. Nikko Steakhouse & Lounge, Inc., et al
                           19-CV-9295 (KMK)(PED)

       Dear Judge Karas:

               We represent the Plaintiff in the above-referenced matter and we submit this letter motion
       advising the Court that the parties have reached a settlement in principle and requesting that all
       currently discovery deadlines be stayed so that the parties may focus their efforts on preparing the
       necessary settlement documents.

              As this matter involves claims asserted under the Fair Labor Standards Act, the parties
       respectfully request three weeks to draft and finalize the settlement agreement and motion for court
       approval of the agreement. If this request is granted, the parties can file their settlement
       submissions to the Court on or before February 1, 2021.

              We thank the Court for its consideration and remain available to provide any additional
       information.

        Both requests are granted. The case is stayed on the
        condition that the Parties are to file the settlement         Respectfully submitted,
        submission by 2/1 /21 .

        So Ordered.




        1/12/21
